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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA,

         Plaintiff,

         v.                                         Case No. 1:17-CR-10265-DJC-1

 SALLY ANN JOHSON,

         Defendant.


                      NOTICE OF WITHDRAWAL OF APPEARANCE

       Pursuant to Rule 83.5.2(c)(1) of the Local Rules of the United States District Court for

the District of Massachusetts, L.R., the undersigned Assistant United States Attorney hereby

withdraws as counsel in this case and respectfully requests to be deleted from the docket for

purposes of receiving electronic notices in this case. There are no pending restitution, fines,

assessment, or civil liability enforcement matters to be adjudicated by the Court.

                                                      Respectfully submitted,

                                                      UNITED STATES OF AMERICA
                                                      By its attorneys

                                                      ANDREW E. LELLING
                                                      United States Attorney

Date: November 19, 2018                       By:    /s/ Brendan T. Mockler
                                                     BRENDAN T. MOCKLER (BBO# 569140)
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                               CERTIFICATE OF SERVICE

I, Brendan Mockler, hereby certify that on this date the foregoing document was filed through
the ECF system and electronically served on any registered participants.

Date: November 19, 2018                            /s/ Brendan T. Mockler
                                                   BRENDAN T. MOCKLER




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